
I.S. made a lease for years, rendering rent to him durante vita et assignatis fuis. Bear argued that no rent shall be paid after I. S.’s death. 27 H. 8. 19. per Audley. The reservation is your own creature; you may direct it to go, as you please, but it shall not go in any other manner than you direct it. The reservation being to his assigns does not operate, because the law says as much; according to the common rule, that the addition of such things as the law includes does not operate. 31 Assise 20. A reservation shall be taken strictly against the reserver. Plowd. 171. *45Tr. 15 Jac. Com. Bench. Rot. 3077. Wotton’s case, postea, p, 274. One made a lease to himself, rendering rent to himself and his assigns durante vita; adjudged that the lessor’s death avoids it. P. 33 El. C. B. 10116. rot. Butcher’s case. Postea 255 and 264. Bendl. 188. Palen. 481. Nov 96.
